 Case 3:21-cv-00237-H-BGS Document 1-3 Filed 02/08/21 PageID.39 Page 1 of 2



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 6
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 7 CIRCLE K STORES INC.

 8

 9                            UNITED STATES DISTRICT COURT
10                         SOUTHERN DISTRICT OF CALIFORNIA
11

12 WILLIAM D. PETTERSEN,                        Case No. '21CV0237 H   BGS

13
     individually and on behalf of all others   DECLARATION OF JEFF
     similarly situated,                        LOHNES IN SUPPORT OF
14                                              DEFENDANT CIRCLE K STORES
                     Plaintiff,                 INC.’S NOTICE OF REMOVAL
15
                                                Complaint filed: December 4, 2020
16
   v.

17 CIRCLE K STORES INC., an Arizona
     Corporation, and DOES 1-10,
18

19                   Defendant.
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               DECLARATION OF JEFF LOHNES IN SUPPORT OF REMOVAL
     ACTIVE 55157579v5
 Case 3:21-cv-00237-H-BGS Document 1-3 Filed 02/08/21 PageID.40 Page 2 of 2



 1           I, Jeff Lohnes, declare:
 2           1.     I am over 18 years of age. I am the Head of Global Age Restricted
 3 Products for Defendant, CIRCLE K STORES INC. (“Defendant”). The information

 4 contained in this Declaration is based upon my personal knowledge and was obtained

 5 from multiple sources, including from records kept in the ordinary course of business

 6 by Defendant.

 7           2.     I provide this Declaration in support of Defendant’s Notice of Removal.
 8           3.     Defendant operates approximately 10,000 stores in the United States,
 9 approximately 5,859 of which are corporate owned.

10           4.     Circle K sells an average of 213,500 individual cartons of Marlboro brand
11 cigarettes per month at its U.S. corporate stores alone.          This equates to over 36
12 Marlboro-brand cartons sold per month for each of Circle K’s United States

13 corporate-owned stores.

14

15           I declare under penalty of perjury that the foregoing is true and correct.
16 Executed this 8th day of February, 2021, in Charlotte, North Carolina.
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18                                                    /s/   Jeff Lohnes
                                                      Jeff Lohnes
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                  DECLARATION OF JEFF LOHNES IN SUPPORT OF REMOVAL
     ACTIVE 55157579v5
